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 1   Morgan Ricketts (Bar No. 268892)
     RICKETTS & YANG
 2   540 El Dorado Street #202
 3   Pasadena CA 91101
     Telephone: (213) 995-3935
 4   Facsimile: (213) 995-3963
 5   Email: morgan@rickettsandyang.com
 6   Attorneys for Plaintiff Chris Miller
 7
 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA

10
     CHRIS MILLER,                          ) Case No.: 2:15-CV-8464
11
                   Plaintiff,               )
12                                              COMPLAINT FOR
            v.                              )     1. VIOLATION OF 42 U.S.C. §
13                                                   1983 (FIRST AMENDMENT)
     TOM BAKALY, (individual and            )
14                                                2. VIOLATION OF ARTICLE 1, §
     official capacity), SHARON PAPA
                                            )        2 OF CALIFORNIA
15   (individual and official capacity),
                                                     CONSTITUTION
     GEORGE BRUNN (individual               )
16                                                3. VIOLATION OF CALIFORNIA
     capacity), CITY OF HERMOSA
                                            )        CIVIL CODE § 52.1(j)
17   BEACH, a California municipal
                                                  4. INTENTIONAL
     corporation, HERMOSA BEACH             )
18                                                   INTERFERENCE WITH
     CHAMBER OF COMMERCE, a
                                            )        PROSPECTIVE ECONOMIC
19   California corporation, KEN
                                                     ADVANTAGE
     HARTLEY, an individual, and DOES 1-    )     5. NEGLIGENT INTERFERENCE
20   100, inclusive,
                                            )        WITH PROSPECTIVE
21                                                   ECONOMIC ADVANTAGE
                   Defendants.              )     6. UNFAIR BUSINESS
22
                                            )        PRACTICES
23                                                7. NEGLIGENCE
24                                              DEMAND FOR JURY TRIAL
25
26
27
28



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                                                                       COMPLAINT
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 1                                       I. JURISDICTION
 2          1.      This Court has jurisdiction under 28 U.S.C. § 1331. Federal question
 3
     jurisdiction arises pursuant to 42 U.S.C. § 1983.
 4
 5          2.      This Court has supplemental jurisdiction over Plaintiff’s state law claims
 6   under 28 U.S.C. § 1367(a) because they arise under California state law, and are so
 7
     related to the claims arising under federal law that they form part of the same case or
 8
 9   controversy.

10                                            II. VENUE
11
            3.      Venue is proper pursuant to 28 U.S.C. § 1391 because the events giving
12
13   rise to this Complaint happened in the Central District.

14                                          III. PARTIES
15
            4.      Plaintiff Chris Miller (“Plaintiff” or “Miller”) is a resident of Los Angeles
16
17   County, California.

18          5.      On information and belief, Defendant Tom Bakaly is a resident of the State
19
     of California and the City Manager of Defendant City of Hermosa Beach. Defendant
20
     Bakaly is the administrative head of the government of the City. He has the authority and
21
22   duty to enforce all laws and ordinances; he has the authority to control, order, and give
23   directions to all heads of City departments and to subordinate officers and City
24
     employees, including the City Clerk. Defendant Bakaly is sued in his personal and
25
26   official capacity.
27
28



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                                                                                      COMPLAINT
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 1          6.     On information and belief, Defendant Sharon Papa is a resident of the State
 2   of California and the Chief of Police for the City of Hermosa Beach. Defendant Papa is
 3
     sued in her personal and official capacity.
 4
 5          7.     On information and belief, Defendant City of Hermosa Beach (“the City”)
 6   is a municipal corporation organized and existing under the laws of the State of
 7
     California, which is approximately one square mile in size and which has a population of
 8
 9   approximately 19,000.

10          8.     On information and belief, Defendant Hermosa Beach Chamber of
11
     Commerce (“Chamber”) is a corporation organized and existing under the laws of the
12
13   State of California.

14          9.     On information and belief, Defendant Ken Hartley is a resident of the State
15
     of California, the President of Defendant Hermosa Beach Chamber of Commerce, and a
16
17   former volunteer reserve police officer with the Hermosa Beach Police Department.

18          10.    At all times relevant to this action, Defendants Bakaly and Papa were
19
     employed by the City of Hermosa Beach as policy-making officials and are sued in their
20
     individual and official capacities.
21
22          11.    Plaintiff is informed and believes and thereon alleges that at all times
23   mentioned below, each Defendant was the principal, agent, representative, partner, or co-
24
     conspirator of the remaining Defendants, and each other, and that in doing the acts
25
26   alleged, each of the Defendants were acting within the course and scope of their agency,
27   employment, partnership, conspiracy, or other authorized relationship with the other
28
     Defendants and with the permission and ratification of Defendants. Whenever and


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                                                                                     COMPLAINT
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 1   wherever reference is made in this Complaint to any acts of Defendants, such allegations
 2   and references shall also be deemed to mean the acts of each Defendant acting
 3
     individually, jointly or severally. The Defendants were engaged in a conspiracy to
 4
 5   violate Plaintiff’s constitutional and other rights, and were acting as co-conspirators with
 6   that aim in mind. In committing the acts herein alleged, the individual Defendants
 7
     Brunn, Papa, Bakaly, and Hartley, and Defendant Hermosa Beach Chamber of
 8
 9   Commerce, acted knowingly, maliciously, and with reckless or callous disregard for

10   Plaintiff’s constitutional and other rights, which justifies an award of punitive damages
11
     under California law against each individual Defendant and the Defendant Hermosa
12
13   Beach Chamber of Commerce.

14                 IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES
15
            12.    Plaintiff timely filed claims with Defendant City of Hermosa Beach
16
17   pursuant to California Government Code § 810 et seq. The claims were denied by

18   operation of law. Plaintiff has exhausted all administrative remedies available to her.
19
                                   V. STATEMENT OF FACTS
20
     A. Background: Measure O
21
22          13.    In 2012, E&B Natural Resources, an oil company, purchased rights to drill
23   for offshore oil in Hermosa Beach. To allow E&B to drill, however, the city needed to
24
     lift a municipal ban on oil drilling. The proposal to lift the ban was fiercely contested by
25
26   Hermosa Beach residents and other concerned citizens, and ultimately the decision was
27   put to a vote in the form of Measure O, which was on the March 3, 2015 ballot.
28



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 1           14.   Beginning in 2012, a number of concerned citizens mobilized to prevent oil
 2   drilling in Hermosa Beach, believing it would be harmful for property values, the
 3
     environment, and the city as a whole. The campaign was known as “Keep Hermosa
 4
 5   Hermosa,” a reference to keeping the city beautiful. The activists spent hundreds of
 6   hours over the course of three years working to defeat the measure, including by
 7
     attending city council meetings, reviewing thousands of pages of documents regarding
 8
 9   the environmental studies about the proposed drilling, assisting the city of Hermosa

10   Beach with a legal battle against E&B, hosting events and designing advertisements that
11
     would raise local awareness about the negative effects of oil drilling, fundraising, and
12
13   more.

14           15.   Hermosa Beach has a police department comprised of under 50 police
15
     officers. On information and belief, none of those police officers live in Hermosa Beach.
16
17   On information and belief, a majority of those police officers are members of a union, the

18   Hermosa Beach Police Officers Association, which has taken the position that salaries
19
     and benefits for Hermosa Beach police officers are not competitive with those of other
20
     nearby beach cities. Prior to the March 3 ballot, the union issued a statement and
21
22   advertisements in support of Measure O, in an attempt to paint the measure as important
23   for public safety because of the need for increased city funds. On information and belief,
24
     the union publicly supported Measure O because it believed that if Measure O passed, the
25
26   city would have a significant source of revenue from the oil drilling with which to raise
27   salaries and benefits for police officers.
28



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                                                                                    COMPLAINT
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 1          16.    The campaign against Measure O was successful in terms of high visibility
 2   and sustained momentum against Measure O, and ultimately, on March 3, 2015, Hermosa
 3
     Beach voters overwhelmingly defeated Measure O (79% against to 21% in favor). The
 4
 5   activists against Measure O, who had been devoting thousands of unpaid hours since
 6   2012 to defeating the measure, gathered on the night of March 3, 2015, to celebrate their
 7
     victory at The Standing Room, a local restaurant on Hermosa Avenue in Hermosa Beach.
 8
 9   Throughout the night, the activists watched the election results coming in on live

10   television at the Standing Room, and good-naturedly chanted their rallying cry, “No on
11
     O!” together whenever a precinct reported another victory at the polls. Those present
12
13   included upstanding members of the Hermosa Beach community, including current and

14   former city councilmembers, as well as the children of activists. On information and
15
     belief, the celebration was entirely appropriate and civil, and there were no known
16
17   instances of violence, physical conflict, or profanities that evening at the Standing Room.

18          17.    The Standing Room is a small to mid-size restaurant, with a patio that looks
19
     out onto Hermosa Avenue and booths and tables inside. On Hermosa Avenue directly in
20
     front of the Standing Room, the opposing lanes of traffic are separated by a traffic island
21
22   with planting space for landscaping.
23   B. Background: Chris Miller
24
            18.    Plaintiff was born and raised in Hermosa Beach. Her father, Warren Miller,
25
26   owned substantial retail space on Pier Avenue, Hermosa’s main street, where his
27   business, Warren Miller Entertainment, was headquartered and produced over 500 films.
28
     Plaintiff attended schools in Hermosa Beach and although she no longer resides in the


                                                  6
                                                                                    COMPLAINT
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 1   city, she has remained actively involved with the Hermosa Beach community for over
 2   fifty years. She has helped to produced six films on the history of Hermosa Beach; for
 3
     eight years, she served on the Board of Directors of the Hermosa Beach Historical
 4
 5   Society; she fundraised for, commissioned, and designed Hermosa’s first mural; and she
 6   chaired the Centennial Dinner in 2007. She has been formally recognized by the
 7
     Hermosa Arts Foundation for her contributions to the community, and received an
 8
 9   Honorary Citizen award from then-mayor Michael Keegan for her lifelong commitment

10   to the city.
11
             19.    Plaintiff is a professional photographer. For nearly twenty years, Plaintiff
12
13   was a salaried employee at The Beach Reporter, a community newspaper. Starting in

14   2012 through March 3, 2015, she was an independent contractor for the Beach Reporter,
15
     and would receive calls on a weekly basis or nearly weekly basis to cover various events
16
17   such as city council meetings, holiday celebrations, business grand openings, and other

18   notable or newsworthy events in the Hermosa Beach community. Plaintiff also does
19
     photography work for private clients on an as-needed basis.
20
             20.    Prior to March 3, 2015, Plaintiff was casually acquainted with Defendant
21
22   Bakaly, Defendant Papa, and Defendant Hartley through her involvement in the city of
23   Hermosa Beach. Plaintiff was also known to the Chamber of Commerce prior to March
24
     3, 2015, as she was a member and was sworn in as a Director of the Board on January 1,
25
26   2015.
27           21.    Starting in 2012, Plaintiff was active in the movement to defeat Measure O.
28
     C. False Police Report and Subsequent Events


                                                   7
                                                                                     COMPLAINT
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 1          22.    On the night of March 3, 2015, an activist parked his truck on Hermosa
 2   Avenue in front of the Standing Room, on the other side of the traffic island, on
 3
     information and belief because he could not find parking and wanted to attend the
 4
 5   celebration for the defeat of Measure O. The truck was carrying an electronic billboard
 6   programmed to display anti-Measure O messages, including “No on O” and “Pack it up
 7
     E&B.” At the location where the activist parked the truck, the messages were visible to
 8
 9   many of the celebrating activists in the Standing Room, particularly those who were on

10   the patio. Plaintiff could see the messages from where she was standing on the patio.
11
            23.    At some point during the evening of March 3, 2015, Plaintiff briefly left the
12
13   Standing Room patio to take photographs of the celebrating activists, and then returned to

14   the patio. At no time was she approaching anyone outside of the Standing Room; she
15
     only left to get a better angle for her photographs. No one else was with her when she did
16
17   so, and she was only outside of the patio for a brief time before returning. She returned

18   of her own volition and without any prompting or physical contact by any other person.
19
            24.    At some point that evening around 10:00 p.m., a Hermosa Beach city
20
     employee, Tony Papandrea, arrived to ticket the truck for parking in the street, and the
21
22   owner of the truck went out to speak with Papandrea. At that time, it was fairly dark out
23   except for the lights of businesses and streetlights.
24
            25.    While Papandrea was in the process of writing the ticket, Plaintiff and
25
26   others were still celebrating. After another chant of No on O, Plaintiff called out from the
27   patio of the Standing Room something to the effect that there would be no pay raises,
28
     “too bad!” As part of those comments, Plaintiff also stated “Pack up, you guys, you


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                                                                                    COMPLAINT
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 1   lost!” Plaintiff was referring generally to E&B and to supporters of Measure O, and not
 2   to the Hermosa Beach Police Department. No reasonable listener would have thought she
 3
     was addressing the police specifically with her comments, although they could have
 4
 5   reasonably concluded that she was making these statements to Papandrea, who was
 6   neither a police officer nor affiliated with the police department.
 7
            26.    Unbeknownst to Plaintiff at the time of her comments, a Hermosa Beach
 8
 9   police officer, Defendant George Brunn, was nearby, several yards behind the activist’s

10   truck on the opposite side of the street, on the other side of the traffic island’s
11
     landscaping, where Plaintiff did not see him.
12
13          27.    On information and belief, Defendant Brunn was upset that Measure O was

14   defeated at the polls. On information and belief, Defendant Brunn heard the No on O
15
     chants and, without knowing who Plaintiff was, decided to punish her for her comments
16
17   critical of Measure O. He noticed that Plaintiff was talking to Kathy Dunbabin, an

18   individual he knew. He waited until Dunbabin left the party, then approached her and
19
     asked her who she had been talking to. Dunbabin spoke to him for some period of time
20
     letting him know various things about who Plaintiff was, including her name and the fact
21
22   that her father was Warren Miller of Warren Miller Entertainment.
23          28.    On information and belief, prior to leaving his shift that evening, Defendant
24
     Brunn falsely reported to his watch commander that Plaintiff had yelled taunts about the
25
26   Hermosa Beach Police Department at him, including the words, “Fuck the police,” and
27   encouraged others on the patio to do the same, resulting in a crowd chanting “Fuck the
28
     police” at Defendant Brunn from the Standing Room patio. On information and belief,


                                                    9
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 1    Defendant Brunn also falsely reported to his watch commander that an unknown male
 2    had physically guided Plaintiff back to the Standing Room from the street at some point
 3
      in an effort to calm the situation. Defendant Brunn also falsely claimed he recognized
 4
 5    Plaintiff from city events, instead of honestly reporting that he had had to find out who
 6    she was from Kathy Dunbabin.
 7
             29.    On information and belief, Defendant Brunn’s watch commander relayed
 8
 9    Defendant Brunn’s report to the Chief of Police, Defendant Sharon Papa, without

10    investigating Defendant Brunn’s comments further.
11
             30.    On information and belief, Defendant Papa knew that Defendant Brunn’s
12
13    police car was equipped with a dashboard camera, but did not view the footage or

14    otherwise investigate Defendant Brunn’s story before contacting Defendant Ken Hartley,
15
      the President of Defendant Hermosa Beach Chamber of Commerce, to complain about
16
17    Plaintiff and the alleged incident on March 6, 2015. On information and belief,

18    Defendant Papa and Defendant Hartley then conspired to retaliate against Plaintiff for
19
      vocally opposing Measure O, and thus deny her the First Amendment right to criticize
20
      and express her opinion on matters of political importance.
21
22           31.    On March 6, 2015, after his conversation with Defendant Papa, but without
23    conducting any investigation or attempting to confirm what he had heard from her,
24
      Defendant Hartley called Plaintiff and demanded she submit a written apology for her
25
26    statements.
27           32.    On information and belief, Defendant Hartley supported Measure O, and is
28
      personally offended by opponents of Measure O, to the point of engaging in unreasonable


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                                                                                     COMPLAINT
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 1    and dangerous behavior. On information and belief, on one occasion, an opponent of
 2    Measure O saw that a pro-Measure O yard sign was displayed prominently at Defendant
 3
      Hartley’s home, and yelled, “Sellout!” from his car as he drove past the house.
 4
 5    Defendant Hartley got into his own car, sped to catch up with the Measure O opponent,
 6    and screamed obscenities from his car at the opponent, and challenged him to fight. On
 7
      information and belief, on another occasion, Defendant Hartley made a citizen’s arrest of
 8
 9    another Hermosa Beach resident for “littering” and refused to accept an apology, when

10    all the resident had done was leave “No on O” flyers on Defendant Hartley’s property.
11
      On information and belief, Defendant Hartley’s personal animosity towards the
12
13    opponents of Measure O motivated him to conspire with the other Defendants to punish

14    Plaintiff for opposing Measure O.
15
             33.    Also on March 6, 2015, the Hermosa Beach Police Department directed
16
17    Defendant Brunn to prepare a written report of the events of March 3, 2015, on

18    information and belief, in order to create a paper trail that would assist in retaliating
19
      against Plaintiff and to help justify to other Hermosa Beach citizens the retaliatory
20
      behavior that the Chief and the Chamber planned to engage in.
21
22           34.    On or about March 8, 2015, Plaintiff called Defendant Papa and requested
23    to be allowed to review the report and any video of the incident so that she could more
24
      clearly recall what she might have done to upset Defendant Brunn on the night of March
25
26    3, 2015. Defendant Papa refused to release any such documents to Plaintiff.
27           35.    On March 11, 2015, Defendant Brunn and Tony Papandrea submitted
28
      written reports about what had happened. Defendant Brunn’s report stated that Plaintiff


                                                    11
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 1    not only identified the Hermosa Beach Police Department by name, but that she
 2    “encouraged many patrons on the patio of the Standing Room to join in yelling ‘Fuck the
 3
      police.’” Contrary to his initial report to the watch commander, Defendant Brunn’s
 4
 5    written report did not allege that Plaintiff had actually used the words “Fuck the police.”
 6    By contrast, Papandrea’s report omitted any mention of the police department, the words
 7
      “Fuck the police,” or any chant by the crowd. Papandrea’s report alleged that Chris
 8
 9    Miller said “there go your fucking raises,” whereas Defendant Brunn’s stated she had

10    merely said, “there go your raises.” Despite these significant contradictions between
11
      Defendant Brunn and Papandrea’s reports, and the inconsistencies between Brunn’s
12
13    initial oral report and his later written report, no one at the Hermosa Beach Police

14    Department attempted to view the dashboard camera footage or otherwise investigate the
15
      story further, on information and belief because their purpose was to punish Plaintiff.
16
17           36.    On March 11, 2015, Defendant Papa called Plaintiff to demand a written

18    apology, claiming that Plaintiff no longer had freedom of expression because she now
19
      was a Director of the Board of the Chamber.
20
             37.    On March 18, 2015, Defendant Hartley, in his capacity as President of the
21
22    Chamber, issued a formal written reprimand to Plaintiff and placed her on twelve
23    months’ probation, based on her having stated to a Hermosa Beach police officer that he
24
      was not getting a raise, and causing others to join in her statements. Defendant Hartley’s
25
26    letter also demanded that Plaintiff prepare a written apology to the police department and
27    state that her personal opinions in no way represented the Chamber.
28



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 1           38.    On March 20, 2015, Plaintiff submitted a letter to the Hermosa Beach
 2    Police Department explaining that she had merely expressed her personal opinion on
 3
      March 3, 2015, and was not speaking on behalf of the Chamber at the time. However,
 4
 5    Plaintiff did not apologize, as she had done nothing wrong, and had not made the
 6    statements she was accused of making.
 7
             39.    On information and belief, after Plaintiff submitted her letter, Defendant
 8
 9    Hartley, Defendant Papa, and Defendant Bakaly discussed it and were dissatisfied

10    because it contained no apology. On information and belief, all Defendants then
11
      conspired to punish Plaintiff further.
12
13           40.    On March 23, 2015, Defendant Papa sent a letter to the Chamber to request

14    that it address Plaintiff’s conduct, and insinuated that the Chamber’s businesses would
15
      face retaliation if the Chamber did not cooperate. The letter was written on police
16
17    department letterhead, and signed “Sharon Papa, Chief of Police.”

18           41.    On March 26, 2015, Plaintiff submitted a written request to the Hermosa
19
      Beach City Clerk to see the relevant video and reports from the night of March 3, 2015,
20
      in an effort to clear her name. The City Clerk refused, on information and belief at the
21
22    direction of Defendant Bakaly, in a deliberate effort to frustrate Plaintiff’s efforts to clear
23    her name and rectify any misunderstandings about what she had actually said.
24
             42.    On information and belief, the same documents that both Defendant Papa
25
26    and Defendant Bakaly denied Plaintiff – the police reports and video – were provided to
27    the Directors of the Chamber’s Board, in an attempt to convince them to vote to remove
28
      Plaintiff from the Board.


                                                    13
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 1            43.    On April 2, 2015, the Chamber held a meeting and voted unanimously to
 2    remove Plaintiff from the Board if she did not apologize; if she did apologize, the
 3
      Chamber voted to allow her to resign from the Board instead of being removed. On
 4
 5    information and belief, the members of the Chamber’s Board voted in support of
 6    removing Plaintiff not because they genuinely believed there was a basis for removal, but
 7
      because they were in fear of losing the support of the Hermosa Beach Police Department,
 8
 9    or even becoming targets of police harassment and retaliation if they did not cooperate to

10    deprive Plaintiff of her constitutional rights, as demanded by Defendants Hartley and
11
      Papa.
12
13            44.    Plaintiff did not apologize and was removed from the Board of the

14    Chamber effective April 7, 2015.
15
              45.    Since March 3, 2015, the Beach Reporter has not contacted Plaintiff once to
16
17    give her work assignments; on information and belief, this is because of Defendants’

18    actions against Plaintiff. In addition, on at least six occasions since March 3, 2015, local
19
      newspapers have published stories which repeated the defamatory statements made by
20
      Defendants Bakaly and Papa and which assumed that Plaintiff made the statements
21
22    falsely attributed to her.
23            46.    On information and belief, Defendant Tom Bakaly intentionally
24
      commissioned a biased investigator, or instructed the investigator to make favorable
25
26    findings, in order to calm the political firestorm that erupted in Hermosa Beach as a result
27    of Defendants’ treatment of Plaintiff. That investigator interviewed twenty nine
28
      witnesses, many of whom had been present at the Standing Room, and all of whom


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 1    denied that Plaintiff had used profanity at any time. The investigator also located the
 2    dashboard camera video, which shows that Plaintiff did not use profanity and that
 3
      Defendant Brunn lied about the yelling of “Fuck the police.” Nonetheless, the
 4
 5    investigator concluded that Plaintiff had in fact used profanity that evening, against the
 6    great weight of the evidence. On information and belief, the investigator was aware that
 7
      by finding that Plaintiff had used profanity, Plaintiff’s credibility would be damaged and
 8
 9    Plaintiff would suffer additional harm to her reputation, and intentionally found that

10    Plaintiff had used profanity in order to cause those things to happen. Moreover, the
11
      investigator concluded that Plaintiff was “contradicted” by the evidence, because Plaintiff
12
13    had later asserted that her only comment related to there being no raises, and the

14    investigator concluded she had made additional statements, though trivial. However, the
15
      investigator did not make any conclusions about Defendant Brunn’s credibility or lack
16
17    thereof, even though his version of events was flatly contradicted by Papandrea’s

18    account, which unlike Brunn’s, made no mention of the Hermosa Beach Police
19
      Department, any crowd chanting, or the words “Fuck the police.”
20
             47.    On information and belief, on multiple occasions, Defendant Tom Bakaly
21
22    insisted to third parties, including newspaper reporters, that Plaintiff is guilty of using
23    profanity and that the Chamber was right to hold her accountable for her “inappropriate”
24
      behavior by telling the police they would not get raises. On information and belief, he
25
26    also targeted Plaintiff because of her statement that someone was not getting a raise, and
27    ordered further investigations into her conduct solely because of that statement, in an
28
      attempt to punish and discredit her. Finally, on information and belief, Defendant Bakaly


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 1    purposely declined to use his authority over City employees to intervene in the unlawful
 2    course of events that led to serious damages to Plaintiff, and was motivated by a desire to
 3
      punish Plaintiff in doing so.
 4
 5           48.     On information and belief, once it became clear that Plaintiff had not
 6    shouted any obscenities to the police nor led anyone to yell “Fuck the police,” Defendant
 7
      Bakaly and Papa conspired to take steps to cover up that fact, including by refusing to
 8
 9    release public records that proved her innocence, covering up the existence of the dash

10    cam video, hiring a biased investigator to create a false paper trail justifying the city’s
11
      actions with respect to Plaintiff, and by making deliberately false statements to media
12
13    outlets in an attempt to paint Plaintiff as a troublemaker and destroy her reputation and

14    credibility.
15
      D. Monell Claim
16
17           49.     The City of Hermosa Beach maintains a policy, practice, and/or custom of

18    unlawfully retaliating against those who criticize the City or its departments, particularly
19
      the police.
20
             50.     The violation of constitutional and/or statutory rights herein complained of
21
22    resulted from a policy, practice, and/or custom of the City and was directed, approved
23    and/or ratified by City Manager Defendant Tom Bakaly, and Chief of Police Defendant
24
      Sharon Papa. Bakaly and Papa are policymakers for the City. Each of these individuals
25
26    were present for the execution of the policy, practice, and/or custom. Moreover, on
27    information and belief, Defendant Papa advised Defendant Bakaly in advance of the plan
28



                                                    16
                                                                                        COMPLAINT
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 1    to retaliate against Plaintiff by writing a letter to Defendant Chamber in an effort to have
 2    Plaintiff removed from the Board, and Defendant Bakaly approved that plan in advance.
 3
      E. Damages Sustained As Result of Defendants’ Conduct
 4
 5              51.   Since the events of March 3, 2015, Plaintiff has not been offered any work
 6    for the Beach Reporter and her income has decreased as a result.
 7
                52.   Since March 3, 2015, the damage to Plaintiff’s reputation has resulted in
 8
 9    fewer private clients hiring her for photography jobs. Her income has decreased as a

10    result.
11
                53.   Since March 3, 2015, Plaintiff has suffered extreme stress, nightmares,
12
13    tearfulness, panic attacks, and other emotional distress caused by Defendants’ unlawful

14    conduct.
15
                54.   Plaintiff has lost her position on the Board of Directors of the Chamber of
16
17    Commerce, which would have provided her with potential business opportunities and

18    greater publicity for her work.
19
                55.   Plaintiff has lost the ability to go to her hometown, which she loves,
20
      without re-experiencing the stress and trauma caused by Defendants.
21
22              56.   Plaintiff’s reputation has been damaged irretrievably by the actions of all
23    Defendants. Numerous comments to the articles published by the Beach Reporter show
24
      that many citizens believe Plaintiff in fact did yell “Fuck the police” and deserves to be
25
26    punished for it. This loss of reputation has resulted in emotional distress and economic
27    loss for Plaintiff.
28



                                                    17
                                                                                       COMPLAINT
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 1                                             V. CLAIMS
 2                                   FIRST CLAIM FOR RELIEF
 3
                             (Violation of Civil Rights – 42 U.S.C. § 1983)
 4
 5                           (First Amendment – Against All Defendants)
 6           57.      Plaintiff realleges and incorporates by reference herein each and every
 7
      allegation set forth in paragraphs 1 through 56.
 8
 9           58.      By their conduct, Defendants retaliated against Plaintiff based on her

10    exercise of rights protected by the First Amendment to the United States Constitution,
11
      which deprived her of those rights.
12
13           59.      At all relevant times, Defendants Bakaly, Papa, and Brunn acted under

14    color of law.
15
             60.      At all relevant times, Defendant Chamber and Defendant Hartley conspired
16
17    with the Defendant City of Hermosa Beach, acting by and through Defendants Bakaly,

18    Papa, and Brunn, to harm Plaintiff, by actively discussing with each other what steps they
19
      could take to force Plaintiff to apologize publicly for challenging the police and how to
20
      punish her if she did not comply with their demands.
21
22           61.      After the initial police report, which was both false and lacking in any
23    legally significant facts, Defendants did not make any attempt to either verify the
24
      allegations or determine whether there was any legal justification for taking actions
25
26    adverse to Plaintiff, yet took such actions against her including investigation of her
27    conduct, harassing her for an apology she was not required to make, causing her to be
28
      removed from the Board of the Chamber, preventing her from being hired to work for the


                                                    18
                                                                                       COMPLAINT
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 1    Beach Reporter, and making false and disparaging defamatory statements about her to
 2    third parties.
 3
             62.       Defendants, acting in their individual capacities, unreasonably and
 4
 5    unlawfully retaliated against Plaintiff for exercising her First Amendment right to
 6    associate and to speak her opinion on matters of political significance.
 7
             63.       Defendants’ conduct deprived Plaintiff of her rights, also causing her
 8
 9    damages in an amount to be proven at trial.

10           64.       Plaintiff is entitled to recover her costs and reasonable attorney’s fees
11
      incurred in prosecuting this claim for relief.
12
13           65.       At all relevant times, each Defendant was the agent or employee of the

14    remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
15
      within the course and scope of their agency or employment, or other authorized
16
17    relationship with the other Defendants and with the permission and ratification and active

18    support and conspiracy of the other Defendants.
19
             66.       Defendants’ unlawful actions were done willfully, maliciously, and with
20
      the specific intent to deprive Plaintiff of her rights under the Constitution of the United
21
22    States. They were also done with malice, fraud, and oppression, entitling Plaintiff to
23    punitive damages against all Defendants except Defendant City of Hermosa Beach, as
24
      provided by law.
25
26                                   SECOND CLAIM FOR RELIEF
27         (Violation of Civil Rights – Article I, § 2 CALIFORNIA CONSTITUTION)
28
                                 (Free Speech – Against All Defendants)


                                                      19
                                                                                         COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 20 of 30 Page ID #:20



 1           67.       Plaintiff realleges and incorporates by reference herein each and every
 2    allegation set forth in paragraphs 1 through 66.
 3
             68.       By their conduct, Defendants retaliated against Plaintiff based on her
 4
 5    exercise of rights protected by Article 1, § 2 of the California Constitution, which
 6    deprived her of those rights.
 7
             69.       At all relevant times, Defendants Bakaly, Papa, and Brunn acted under
 8
 9    color of law.

10           70.       At all relevant times, Defendant Chamber and Defendant Hartley conspired
11
      with the Defendant City of Hermosa Beach, acting by and through Defendants Bakaly,
12
13    Papa, and Brunn, to harm Plaintiff, by actively discussing with each other what steps they

14    could take to force Plaintiff to apologize publicly for challenging the police and how to
15
      punish her if she did not comply with their demands.
16
17           71.       After the initial police report, which was both false and lacking in any

18    legally significant facts, Defendants did not make any attempt to either verify the
19
      allegations or determine whether there was any legal justification for taking actions
20
      adverse to Plaintiff, yet took such actions against her including investigation of her
21
22    conduct, harassing her for an apology she was not required to make, causing her to be
23    removed from the Board of the Chamber, preventing her from being hired to work for the
24
      Beach Reporter, and making false and disparaging defamatory statements about her to
25
26    third parties.
27
28



                                                     20
                                                                                        COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 21 of 30 Page ID #:21



 1           72.    Defendants, acting in their individual capacities, unreasonably and
 2    unlawfully retaliated against Plaintiff for exercising her First Amendment right to
 3
      associate and to speak her opinion on matters of political significance.
 4
 5           73.    Defendants’ conduct deprived Plaintiff of her rights, also causing her
 6    damages in an amount to be proven at trial.
 7
             74.    Plaintiff is entitled to recover her costs and reasonable attorney’s fees
 8
 9    incurred in prosecuting this claim for relief.

10           75.    At all relevant times, each Defendant was the agent or employee of the
11
      remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
12
13    within the course and scope of their agency or employment, or other authorized

14    relationship with the other Defendants and with the permission and ratification and active
15
      support and conspiracy of the other Defendants.
16
17           76.    Defendants’ unlawful actions were done willfully, maliciously, and with

18    the specific intent to deprive Plaintiff of her rights under the California constitution.
19
      They were also done with malice, fraud, and oppression, entitling Plaintiff to punitive
20
      damages against all Defendants except Defendant City of Hermosa Beach, as provided by
21
22    law.
23                                  THIRD CLAIM FOR RELIEF
24
                           (Bane Act Violation – Cal. Civ. Code § 52.1(j))
25
26                      (Defendant Papa, personal and individual capacity)
27           77.    Plaintiff realleges and incorporates by reference herein each and every
28
      allegation set forth in paragraphs 1 through 76.


                                                    21
                                                                                        COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 22 of 30 Page ID #:22



 1           78.    Defendant Papa interfered with Plaintiff’s exercise and enjoyment of rights
 2    guaranteed to Plaintiff under the United States Constitution and the California
 3
      Constitution and other laws, through the use of threats, intimidation, or coercion directed
 4
 5    against the Chamber of Commerce. Defendant Papa did so by threatening problems
 6    between the Chamber members and her police department. Because police officers carry
 7
      weapons, that could reasonably have been interpreted as a threat of violence against the
 8
 9    Chamber members or their property, including their businesses.

10           79.    Defendant Papa, as Hermosa Beach’s Chief of Police, had the apparent
11
      ability to carry out her threat of creating problems for the members of the Chamber with
12
13    the police officers employed by Hermosa Beach.

14           80.    Defendant Papa’s conduct deprived Plaintiff of her rights, also causing her
15
      damages in an amount to be proven at trial.
16
17           81.    Plaintiff is entitled to recover her costs and reasonable attorney’s fees

18    incurred in prosecuting this claim for relief.
19
             82.    At all relevant times, each Defendant was the agent or employee of the
20
      remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
21
22    within the course and scope of their agency or employment, or other authorized
23    relationship with the other Defendants and with the permission and ratification and active
24
      support and conspiracy of the other Defendants.
25
26           83.    Defendants’ unlawful actions were done willfully, maliciously, and with
27    the specific intent to deprive Plaintiff of her statutory rights under Civil Code § 52.1.
28
      They were also done with malice, fraud, and oppression, entitling Plaintiff to punitive


                                                    22
                                                                                       COMPLAINT
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 1    damages against all Defendants except Defendant City of Hermosa Beach, as provided by
 2    law.
 3
                                 FOURTH CLAIM FOR RELIEF
 4
 5    (Intentional Interference with Prospective Economic Advantage – Defendants Papa,
 6           Bakaly, Brunn, Hartley, and Hermosa Beach Chamber of Commerce)
 7
             84.    Plaintiff realleges and incorporates by reference herein each and every
 8
 9    allegation set forth in paragraphs 1 through 83.

10           85.    On or before March 3, 2015, Plaintiff had an economic relationship with
11
      the Beach Reporter that likely would have resulted in further economic benefit to
12
13    Plaintiff; namely, she was likely to receive more work from them.

14           86.    Because of her twenty year relationship with the Beach Reporter, and her
15
      casual acquaintance with Defendant Papa, Bakaly, and Hartley, and her membership in
16
17    the Chamber, Defendants were aware of her relationship with the Beach Reporter.

18           87.    Defendants intended to harm Plaintiff, including by disrupting Plaintiff’s
19
      relationship with the Beach Reporter, by discrediting her and making her politically
20
      “untouchable.” Defendants did wrongfully disrupt Plaintiff’s relationship with the Beach
21
22    Reporter by interfering with her rights, retaliating against her, and defaming her.
23           88.    Plaintiff was harmed by Defendants’ conduct in that the Beach Reporter
24
      decided not to hire her for further work, on information and belief, solely or substantially
25
26    because of Defendants’ conduct with respect to the events of March 3, 2015.
27           89.    At all relevant times, each Defendant was the agent or employee of the
28
      remaining Defendants, and in doing the acts alleged, each of the Defendants were acting


                                                   23
                                                                                      COMPLAINT
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 1    within the course and scope of their agency or employment, or other authorized
 2    relationship with the other Defendants and with the permission and ratification and active
 3
      support and conspiracy of the other Defendants.
 4
 5           90.    Defendants’ unlawful actions were done willfully, maliciously, and with
 6    the specific intent to deprive Plaintiff of her common law rights to be free of intentional,
 7
      wrongful interference with her prospective economic advantage. They were also done
 8
 9    with malice, fraud, and oppression, entitling Plaintiff to punitive damages against all

10    Defendants except Defendant City of Hermosa Beach, as provided by law.
11
                                   FIFTH CLAIM FOR RELIEF
12
13     (Negligent Interference with Prospective Economic Advantage – Defendants Papa,

14            Bakaly, Brunn, Hartley, and Hermosa Beach Chamber of Commerce)
15
             91.    Plaintiff realleges and incorporates by reference herein each and every
16
17    allegation set forth in paragraphs 1 through 90.

18           92.    On or before March 3, 2015, Plaintiff had an economic relationship with
19
      the Beach Reporter that likely would have resulted in further economic benefit to
20
      Plaintiff; namely, she was likely to receive more work from them.
21
22           93.    Because of her twenty year relationship with the Beach Reporter, and her
23    casual acquaintance with Defendant Papa, Bakaly, and Hartley, and her membership in
24
      the Chamber, Defendants knew or should have known of her relationship with the Beach
25
26    Reporter.
27
28



                                                   24
                                                                                      COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 25 of 30 Page ID #:25



 1           94.     Defendants knew or should have known that Plaintiff’s relationship with
 2    the Beach Reporter would be damaged if they failed to act with reasonable care with
 3
      respect to Plaintiff.
 4
 5           95.     Defendants failed to act with reasonable care with respect to Plaintiff.
 6           96.     Defendants acted wrongfully by interfering with Plaintiff’s rights,
 7
      retaliating against her, and defaming her.
 8
 9           97.     Plaintiff’s relationship with the Beach Reporter was disrupted, as she has

10    not been hired again by the Beach Reporter in over seven months as of the filing of this
11
      Complaint.
12
13           98.     Plaintiff was harmed by Defendants’ conduct in that the Beach Reporter

14    decided not to hire her for further work, on information and belief, solely or substantially
15
      because of Defendants’ conduct with respect to the events of March 3, 2015.
16
17           99.     At all relevant times, each Defendant was the agent or employee of the

18    remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
19
      within the course and scope of their agency or employment, or other authorized
20
      relationship with the other Defendants and with the permission and ratification and active
21
22    support and conspiracy of the other Defendants.
23                                  SIXTH CLAIM FOR RELIEF
24
       (Unfair Business Practices – Defendants Hartley and Hermosa Beach Chamber of
25
26                                            Commerce)
27           100.    Plaintiff realleges and incorporates by reference herein each and every
28
      allegation set forth in paragraphs 1 through 99.


                                                   25
                                                                                      COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 26 of 30 Page ID #:26



 1           101.   The Hermosa Beach Chamber of Commerce is a business; it is a California
 2    corporation which charges businesses between $200.00 and $300.00 to join; it provides
 3
      advertisement opportunities through its business directory, visible on its website; it has a
 4
 5    full-time salaried staff; and hosts and supports various events promoting its member
 6    businesses.
 7
             102.   Membership in the Chamber provides economic benefits to local businesses
 8
 9    in the form of increased visibility and legitimacy and opportunities for promotion and

10    community involvement. Plaintiff joined the Chamber and successfully sought election
11
      to the Board in order to enjoy these benefits.
12
13           103.   The Chamber engaged in unfair and unlawful business practices when it

14    removed Plaintiff from its Board of Directors as punishment for her political expression.
15
      Plaintiff’s removal caused her to lose the benefits of her membership, for which she had
16
17    paid and worked for, and damaged her reputation among other members of the Chamber,

18    who might otherwise have been interested in hiring Plaintiff for photography work.
19
             104.   On information and belief, the Chamber’s actions were calculated to punish
20
      opponents of the police department and/or Measure O, which was not only a political
21
22    controversy but also an economic controversy, and ensure that opponents of the police
23    department and/or Measure O would not be permitted to govern the Chamber as directors
24
      of the Board. These actions unfairly and unlawfully gave business and economic
25
26    advantages to Chamber members who did not express opposition to Measure O or the
27    police department.
28



                                                   26
                                                                                      COMPLAINT
     Case 2:15-cv-08464-DSF-AS Document 1 Filed 10/29/15 Page 27 of 30 Page ID #:27



 1            105.   Plaintiff is entitled to an injunction reinstating her as a Director of the
 2    Board of the Chamber of Commerce.
 3
              106.   Plaintiff is also entitled to reasonable restitution, in an amount to be proven
 4
 5    at trial.
 6            107.   At all relevant times, each Defendant was the agent or employee of the
 7
      remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
 8
 9    within the course and scope of their agency or employment, or other authorized

10    relationship with the other Defendants and with the permission and ratification and active
11
      support and conspiracy of the other Defendants.
12
13            108.   Defendants’ unlawful actions were done willfully, maliciously, and with

14    the specific intent to deprive Plaintiff of her statutory right to be free from unlawful,
15
      unfair, or fraudulent business practices. They were also done with malice, fraud, and
16
17    oppression, entitling Plaintiff to punitive damages against all Defendants except

18    Defendant City of Hermosa Beach, as provided by law.
19
                                  SEVENTH CLAIM FOR RELIEF
20
        (Negligence – Defendants Brunn, Papa, Bakaly, Hartley, City of Hermosa Beach,
21
22                          and Hermosa Beach Chamber of Commerce)
23            109.   Plaintiff realleges and incorporates by reference herein each and every
24
      allegation set forth in paragraphs 1 through 108.
25
26            110.   Defendants’ conduct described above was negligent in that Defendants took
27    actions against Plaintiff that they knew or should have known were in violation of her
28
      rights and failed to exercise reasonable care in the circumstances.


                                                     27
                                                                                         COMPLAINT
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 1           111.   All Defendants had a duty to exercise reasonable care with respect to
 2    Plaintiff to ensure that Defendants did not cause unnecessary or unjustified harm to
 3
      Plaintiff. Defendants Brunn, Papa, Bakaly, and the City of Hermosa Beach had a
 4
 5    heightened duty to avoid infringing on Plaintiff’s rights, as they are public officials and a
 6    government entity, as well as a duty to hire, train, supervise, and discipline their officers
 7
      and employees so as not to cause harm to Plaintiff and to prevent violations of Plaintiff’s
 8
 9    constitutional, statutory and common law rights.

10           112.   Plaintiff was deprived of her rights, causing harm to her in the form of
11
      emotional distress and the manifestation of physical symptoms, as well as economic loss
12
13    and damage to her reputation.

14           113.   Defendants’ negligence was a substantial factor in causing the harm to
15
      Plaintiff as described.
16
17           114.   At all relevant times, each Defendant was the agent or employee of the

18    remaining Defendants, and in doing the acts alleged, each of the Defendants were acting
19
      within the course and scope of their agency or employment, or other authorized
20
      relationship with the other Defendants and with the permission and ratification and active
21
22    support and conspiracy of the other Defendants.
23                                       VI. PRAYER FOR RELIEF
24
             WHEREFORE, Plaintiff prays that this Court enter judgment in favor of Plaintiff
25
26    and against each Defendant on all counts, and for the following additional relief:
27           1. Award actual damages and all other damages that may be allowed under state
28
                 and federal law to Plaintiff in an amount to be determined at trial;


                                                   28
                                                                                        COMPLAINT
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 1         2. Award punitive damages in the amount of at least $75,000 against Defendant
 2            Brunn; at least $100,000 against Defendant Papa; at least $100,000 against
 3
              Defendant Bakaly; at least $100,000 against Defendant Hartley; and at least
 4
 5            $100,000 against Defendant Hermosa Beach Chamber of Commerce.
 6         3. Award Plaintiff costs and reasonable attorneys’ fees pursuant to 42 U.S.C.
 7
              1988 and California Civil Code § 52.1(h);
 8
 9         4. Award Plaintiff costs of suit;

10         5. Award Plaintiff pre- and post-judgment interest as permitted by law;
11
           6. Award Plaintiff injunctive relief;
12
13         7. Award Plaintiff reasonable restitution;

14         8. Award such other and further relief as the Court may deem just and
15
              appropriate.
16
17    DATED: October 26, 2015

18                                             By:      /s Morgan Ricketts
                                                        Morgan Ricketts
19
                                                        Attorneys for Plaintiff Chris Miller
20
21
22
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                                                   29
                                                                                     COMPLAINT
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 1                            VII. DEMAND FOR JURY TRIAL
 2         Plaintiff demands a trial by jury.
 3
 4    DATED: October 26, 2015
 5
                                                By:   /s Morgan Ricketts
 6                                                    Morgan Ricketts
 7                                                    Attorneys for Plaintiff Chris Miller

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